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10
11   Attorney for Defendants
     HYUNDAI MOTOR AMERICA, INC.
12   and HYUNDAI MOTOR COMPANY
13
                             UNITED STATES DISTRICT COURT
14
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
15
16   TRAVIS THARPE, LAURA LEAMON,             CASE NO.: 8:21-cv-01428-DOC-JDE
     TREVER LEAMON, JOEL CARLISLE,
17   TROY ACKERMAN, DEBORAH
     GEORGE, THOMAS BRADY, SHANNON Assigned to Hon. David O. Carter
18   BRADY, DANIEL LOPEZ, MONIKA
     LOPEZ, JEFFREY CURRY, COSTANDI           JOINT STATUS REPORT
19   PETE ASHI, CLAUDE BRALEY,
     PATRICIA BRALEY, MICHAEL
20   BOUCHARD, JOANN BOUCHARD,
     PHILIP ISBELL, JONATHAN LEVINE,
21   TERRY MOTTLEY, TERRY RICHTERS,
     ELAIN RICHTERS, and JAMES
22   TAYLOR, JASON DUGGER, and
     STEPHANIE HEATLEY-DUGGER, each
23   individually and on behalf of all others
     similarly situated,
24
          Plaintiffs,
25
     v.
26
     HYUNDAI MOTOR AMERICA, INC., and
27   HYUNDAI MOTOR COMPANY,
28        Defendants.

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1          Plaintiffs Travis Tharpe, Laura Leamon, Trever Leamon, Joel Carlisle, Troy
2    Ackerman, Deborah George, Thomas Brady, Shannon Brady, Daniel Lopez, Monika
3    Lopez, Jeffrey Curry, Costandi Pete Ashi, Claude Braley, Patricia Braley, Michael
4    Bouchard, Joann Bouchard, Philip Isbell, Jonathan Levine, Terry Motley, Terry Richters,
5    Elain Richters, James Taylor, Jason Dugger, and Stephanie Heatley-Dugger and Defendants
6    Hyundai Motor America, Inc. and Hyundai Motor Company (collectively, the “Parties”),
7    by and through their respective counsel, hereby submit the following joint status report
8    regarding settlement in accordance with this Court’s July 5, 2023 Order (ECF. No. 84).
9          1.     Since the Court entered the July 5, 2023 Order, the Parties have reached a
10   settlement agreement in principle.
11         2.     The Parties have exchanged drafts and comments on a written settlement
12   agreement and are currently in the process of working to finalize and sign, after which this
13   lawsuit will be dismissed.
14         3.     The Parties expect to finalize and sign the settlement agreement and submit a
15   joint stipulation to dismiss within twenty-eight (28) days.
16
17   DATED: July 31, 2023                    GREENBERG TRAURIG, LLP
18                                        By: /s/ Robert J. Herrington
19                                          Robert J. Herrington
                                            Attorney for Defendants
20                                          HYUNDAI MOTOR AMERICA, INC.
                                            and HYUNDAI MOTOR COMPANY
21
22
23   DATED: July 31, 2023                    HELLMUTH & JOHNSON, PLLC
24
                                          By: /s/ Brian W. Nelson
25                                            Brian W. Nelson
26                                            Attorney for Plaintiffs

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1          Pursuant to Local Civil Rule 5-4.3.4(a)(2)(i), I hereby attest that Brian Nelson, on
2    whose behalf this filing is jointly submitted, concurs in this filing’s content and has
3    authorized me to file this document.
4
5    DATED: July 31, 2023                   GREENBERG TRAURIG, LLP
6
7                                       By /s/ Robert J. Herrington
                                           Robert J. Herrington
8                                          Attorney for Defendants
                                           HYUNDAI MOTOR AMERICA, INC.
9                                          and HYUNDAI MOTOR COMPANY
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